                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN


MARWAN MAHAJNI,

             Plaintiff,

                                                           Case No: 24-CV-416

v.

MILWAUKEE COUNTY,
DEPUTY VU DO, in his individual capacity,
DEPUTY SCOTT WOIDA, in his individual capacity,
DAVID CLARKE, in his individual and official
capacity, JOHN DOE DEFENDANTS 1 - 5, and
ABC INSURANCE COMPANY,

             Defendants.


DEFENDANTS MILWAUKEE COUNTY, DEPUTY VU DO, DEPUTY SCOTT
WOIDA, AND DAVID CLARKE’S BRIEF IN SUPPORT OF THEIR MOTION
             FOR JUDGMENT ON THE PLEADINGS


      Defendants Milwaukee County, Deputy Vu Do, Deputy Scott Woida, and David

Clarke, by their attorneys, Crivello, Nichols & Hall, S.C., respectfully submit this

brief in support of their Motion for Judgment on the Pleadings pursuant to Federal

Rule of Civil Procedure 12(c).

                          PROCEDURAL BACKGROUND

      On April 6, 2024, Plaintiff filed the operative complaint alleging the following

claims:

      (1)    Denial of right to a fair trial in violation of the Sixth and Fourteenth
             Amendments against all defendants;




      Case 2:24-cv-00416-PP      Filed 09/03/24   Page 1 of 23    Document 21
      (2)    Denial of due process in violation of the Fourteenth Amendment
             against all defendants;

      (3)    A state law claim for failure to intervene against Deputy Woida and
             John Doe defendants;

      (4)    Monell liability against Milwaukee County and former Sheriff Clarke;

      (5)    Cruel and unusual punishment in violation of the Fourth and
             Fourteenth Amendments against Deputy Do and Deputy Woida;

      (6)    Negligent infliction of emotional distress against Deputy Do and
             Deputy Woida;

      (7)    Intentional infliction of emotional distress against Deputy Do and
             Deputy Woida;

      (8)    Negligent hiring, training, and supervision against Milwaukee
             County;

      (9)    State law indemnification against Milwaukee County; and

      (10)   Direct action against ABC Insurance.

(See Dkt. 1, p. 1-23). Plaintiff’s claims stem from the conviction of two serious felonies:

kidnapping and second degree child sexual assault. (Id. at ¶ 40). Plaintiff was

sentenced for those convictions, (id. at ¶ 77), but the convictions were subsequently

vacated on March 11, 2020, (Dkt. 16-3). Plaintiff incorporated two exhibits to the

complaint: a June 27, 2019, decision from Appeal No. 2017AP1184-CR, and a

December 5, 2023, letter Attorney Motely enclosing a purported “Notice of Claim to:

Milwaukee County, Wisconsin.” (Dkt. 1-1 and 1-2).

      Defendants answered on June 28, 2024, denying liability and asserting various

affirmative defenses including that former Sheriff Clarke, Deputy Do, and Deputy

Woida are entitled to both absolute and qualified immunity. (Dkt. 16). Defendants




       Case 2:24-cv-00416-PP       Filed 09/03/24    Page 2 of 23    Document 21
                                            2
also asserted that Plaintiff failed to comply with Wis. Stat. § 893.80 and that

Plaintiff’s claims may be barred by the applicable statute of limitations. (Id. at p. 39).

Similar to Plaintiff, Defendants incorporated three exhibits to their answer: (1) a May

12, 2017, decision and order denying Plaintiff’s motion for a new trial; (2) a June 6,

2017, decision and order denying Plaintiff’s motion for reconsideration, and (3) a

March 11, 2020, order vacating Plaintiff’s convictions and granting a new trial. (Dkt.

16-1, 16-2, 16-3).

                                     ARGUMENT

I.    STANDARD OF REVIEW

      Federal Rule of Civil Procedure 12(c) allows “a party to move for judgment after

the parties have filed the complaint and answer.” Northern Indiana Gun & Outdoor

Shows, Inc. v. City of South Bend, 163 F.3d 449, 452 (7th Cir. 1998). A motion for

judgment on the pleadings under Rule 12(c) is subject to the same standard as a Rule

12(b)(6) motion to dismiss. Katz-Crank v. Haskett, 843 F.3d 641, 646 (7th Cir. 2016).

Akin to Rule 12(b), judgment on the pleadings is appropriate if “it appears beyond

doubt that the plaintiff cannot prove any facts that would support his claim for relief.”

Northen Indiana Gun, 163 F.3d at 452 (citing Craigs, Inc. v. General Elec. Capital

Corp., 12 F.3d 686, 688 (7th Cir. 1993)). While courts must “view the facts in the

complaint in the light most favorable to the nonmoving party,” courts are “not obliged

to ignore any facts set forth in the complaint that undermine the plaintiff’s claim or

to assign any weight to unsupported conclusions of law.” Id. (citing GATX Leasing




       Case 2:24-cv-00416-PP      Filed 09/03/24    Page 3 of 23     Document 21
                                           3
Corp. v. National Union Fire Ins. Co., 64 F.3d 1112, 1114 (7th Cir. 1995); R.J.R. Serv.,

Inc. v. Aetna Cas. & Sur. Co., 895 F.2d 279, 281 (7th Cir. 1989)).

      For purposes of motions for judgment on the pleadings, Courts may consider

the complaint, the answer, and any attachments to those documents. Id. (citing

Warzon v. Drew, 60 F.3d 1234, 1237 (7th Cir. 1995)).

II.   ALL OF PLAINTIFF’S CLAIMS ARE BARRED BY THE STATUTE OF
      LIMITATIONS.

      The law concerning the statute of limitations is well-settled and is determined

by looking at a state’s law. Owens v. Okure, 488 U.S. 235 (1989). Here, pursuant to

Wisconsin law, and for a constitutional claim that accrued on or after April 5, 2018,

the applicable statute of limitations is three years. Wis. Stat. § 893.53. “While state

law determines the length of the limitations period, federal law determines the date

of accrual of the cause of action.” Logan v. Wilkins, 644 F.3d 577, 581–82 (7th Cir.

2011). “The clock for each individual act starts to tick on the day that the act

occurred.” Laslie v Cicero, Case No., 2021 WL 1853250, *8 (N.D. Ill. May 10, 2021)

(quotation omitted).

      The statute of limitations for a § 1983 claim “begins to run when a
      reasonable plaintiff knew or should have known of facts that would
      support a charge of discrimination.” “[T]he proper focus is on the time
      of the discriminatory act, not the point at which the consequences of the
      act became painful.”

La Playita Cicero, Inc. v. Town of Cicero, 2014 WL 944859, *5 (N.D. Ill. March 11,

2014) (citations omitted). A § 1983 claim accrues “when the plaintiff has a ‘complete

and present cause of action,’ . . . that is, when ‘the plaintiff can file suit and obtain

relief[.]’” Wallace v. Kato, 549 U.S. 384, 388, 127 S.Ct. 1091 (2007)(citations omitted).




       Case 2:24-cv-00416-PP      Filed 09/03/24    Page 4 of 23     Document 21
                                           4
       “[A] cause of action will not accrue until the plaintiff discovers, or in the
       exercise of reasonable diligence should have discovered, not only the fact
       of injury but also that the injury was probably caused by the defendant’s
       conduct or product.”

Henley v. C.R. Bard, Inc., Case No., 2019 WL 6529433, *3 (E.D. Wis. Dec. 4, 2019)

(citing Borello v. U.S. Oil Co., 130 Wis. 2d 397, 411, 388 N.W.2d 140 (1986)). Specific

to alleged wrongful convictions, a § 1983 cause of action for damages stemming from

such a conviction accrues when “the conviction or sentence has been invalidated.”

Heck v. Humphrey, 512 U.S. 477, 489-90 (1994). Similarly, in Wisconsin the statute

of limitations for both negligent acts and intentional torts is three years. Wis. Stat.

§§ 893.54, 893.57

       Here, the underlying convictions Plaintiff complains of were vacated on March

11, 2020, (Dkt. 16-3), meaning Plaintiff had until March 11, 2023, to timely file any

Section 1983 constitutional challenge, any claim for damages stemming from alleged

negligence, or any claim stemming from alleged intentional tort, related to the

convictions. Plaintiff failed to meet the deadline, and instead filed suit on April 6,

2024, (see Dkt. 1); 392 days too late. The statute of limitations bars each of Plaintiff’s

claims, and this Court must dismiss the case in its entirety.

III.   ALTERNATIVELY, PLAINTIFF’S INDIVIDUAL CLAIMS FAIL FOR
       VARIOUS REASONS.

       Even if this Court concludes that Plaintiff’s untimely claims can survive,

Deputy Do and Woida are entitled to immunity, Plaintiff failed to comply with notice

requirements, Plaintiff failed to properly state a Monell claim, and former Sheriff




       Case 2:24-cv-00416-PP       Filed 09/03/24    Page 5 of 23    Document 21
                                            5
Clarke is not a proper party to this action. Thus, Plaintiff’s claims still fail and the

Court should dismiss the same.

      a.     Deputy Woida is entitled to absolute immunity.

      While ordinarily qualified immunity is sufficient to protect the actions of law

enforcement officers while acting in the course of duty, absolute immunity can apply

in certain cases. Richman v. Sheahan, 270 F.3d 430, 434 (7th Cir. 2001) (citing Malley

v. Briggs, 475 U.S. 335, 340–41 (1986); Pierson v. Ray, 386 U.S. 547, 557 (1967)).

Judges are “entitled to absolute immunity from damages for their judicial conduct,”

but “[a]bsolute judicial immunity ‘is not limited to government officials with the title

of ... judge.” Id. (citing Mireles v. Waco, 502 U.S. 9, 11–12 (1991); Forrester v. White,

484 U.S. 219, 225–29 (1988)); Dawson v. Newman, 419 F.3d 656, 662 (7th Cir. 2005)

(quoting Wilson v. Kelkhoff, 86 F.3d 1438, 1443 (7th Cir. 1996)).

      Absolute immunity has been “extended to apply to ‘quasi-judicial conduct’ of

‘[n]on-judicial officials whose official duties have an integral relationship with the

judicial process.” Richman, 270 F.3d at 435 (quoting Henry v. Farmer City State

Bank, 808 F.2d 1228, 1238 (7th Cir.1986)). Absolute immunity for acts by nonjudicial

government officers is determined on the basis of “a functional approach” (i.e.,

whether the act has a discretionary function equivalent to a judge). Dawson, 419 F.3d

at 662 (internal citations omitted); see also Richman, 270 F.3d at 435. Absolute

immunity has also been extended to apply to administrative functions that “have

been undertaken pursuant to the explicit direction of a judicial officer.” Richman, 270

F.3d at 435. (internal citations omitted). “The policy justifying an extension of




       Case 2:24-cv-00416-PP      Filed 09/03/24    Page 6 of 23    Document 21
                                           6
absolute immunity in these circumstances is to prevent court personnel and other

officials from becoming a lightning rod for harassing litigation aimed at the court.”

Id. (internal quotations omitted). Justification for extending absolute immunity to

court personnel “is most compelling when the lawsuit challenges conduct specifically

directed by the judge, and not simply the manner in which the judge’s directive was

carried out.” Id. (referencing, e.g., Kincaid v. Vail, 969 F.2d 594, 601 (quasi-judicial

immunity was provided to a clerk who refused to accept filing of complaint at the

direction of the judge); Dellenbach v. Letsinger, 889 F.2d 755, 763 (7th Cir.1989)

(when a judge requested plaintiff pay for certain (unnecessary) transcripts, court

personnel who told plaintiff to do so were entitled to quasi-judicial immunity); Eades

v. Sterlinske, 810 F.2d 723, 726 (7th Cir.1987) (court personnel who prepared and

filed a false certificate at the direction of the judge were entitled to quasi-judicial

immunity)).

        Here, Plaintiff has alleged that Deputy Do 1 and Deputy Woida took the

following oath:

        Do you solemnly swear or affirm under penalty of law that you will keep
        this jury together as ordered, that you will not permit any person to
        speak to them, and that you will not speak to them yourself unless by
        order of the court.

(Dkt. 1, ¶ 26). Even assuming this allegation to be true, the allegations in the

complaint show that Deputy Woida followed the judges’ order – there is no allegation

that Deputy Woida spoke to any juror. (See generally, id.). As Plaintiff alleges,


1
 Deputy Do is not currently seeking dismissal based on absolute immunity and instead seeks dismissal based on
other defenses. However, should claims against Deputy Do survive this motion, Deputy Do reserves the right to
seek dismissal based on absolute immunity at the summary judgment stage of this case.



         Case 2:24-cv-00416-PP              Filed 09/03/24        Page 7 of 23        Document 21
                                                     7
Deputy Woida “did nothing to stop Do,” (id. at ¶ 36), but there was nothing Deputy

Woida could have done besides going against the Court’s order and speaking to jurors

himself. Deputy Woida is entitled to absolute immunity on the failure to intervene

claim. Richman, 270 F.3d at 435; see also Martin v. Hendren, 127 F.2d 720, 721 (8th

Cir. 1997) (“Bailiffs enjoy absolute quasi-judicial immunity for actions specifically

ordered by the trial judge and related to the judicial function.”).

      b.     Deputy Do and Deputy Woida are entitled to qualified
             immunity.

      The United States Supreme Court has “repeatedly stressed the importance of

resolving immunity questions at the earliest possible stage of litigation.” Hunter v.

Bryant, 502 U.S. 224, 227 (1991). Courts have explained that “government officials

performing discretionary functions are shielded from liability for civil damages

insofar as their conduct does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457

U.S. 800, 818 (1982). The purpose of qualified immunity is to allow for reasonable

errors “because officials should not err always on the side of caution [for the] fear of

being sued.” Humphrey v. Staszek, 148 F.3d 719, 727 (7th Cir. 1998). The qualified

immunity defense “erects a substantial barrier for plaintiffs, and appropriately so

because qualified immunity is designed to shield from civil liability all but the plainly

incompetent or those who knowingly violate the law.” Kernats v. O’Sullivan, 35 F.3d

1171, 1177 (7th Cir. 1994).

      Under the qualified immunity doctrine, “government officials performing

discretionary functions are immune from suit if their conduct ‘could reasonably have




       Case 2:24-cv-00416-PP      Filed 09/03/24    Page 8 of 23      Document 21
                                           8
been thought consistent with the rights they are alleged to have violated.’” Borello v.

Allison, 446 F.3d 742, 746 (quoting Anderson v. Creighton, 483 U.S. 635, 638-39

(1987)). An official is entitled to immunity if, when he acted, “he reasonably could

have believed that his action did not violate a clearly established law.” Cham v.

Wodnick, 123 F.3d 1005, 1008 (7th Cir. 1997), cert denied, 522 U.S. 1117 (1998).

Furthermore, “as the qualified immunity defense has evolved, it provides ample

protection to all but the plainly incompetent or those who knowingly violate the

law.” Malley v. Briggs, 475 U.S. 335, 341 (1986). The Seventh Circuit instructs that

“[a]lthough the privilege of qualified immunity is a defense, the plaintiff carries the

burden of defeating it.” Mannola v. Farrow, 476 F.3d 453, 357 (7th Cir. 2007).

      In City and County of San Francisco, Calif. v. Sheehan, 135 S. Ct. 1765 (2015),

the Supreme Court criticized the Ninth Circuit for misreading prior Supreme Court

precedent regarding qualified immunity. Specifically, the Court criticized the Ninth

Circuit for defining the right in question—there, the Fourth Amendment right to be

free from unreasonable searches and seizures—at too high a level of generality:

      [N]othing in our cases suggests the constitutional rule applied by the
      Ninth Circuit. The Ninth Circuit focused on Graham v. Conner, but
      Graham holds only that the “objective reasonableness” test applies to
      excessive-force claims under the Fourth Amendment. That is far too
      general a proposition to control this case. “We have repeatedly told
      courts—and the Ninth Circuit in particular—not to define clearly
      established law at a high level of generality.” Qualified immunity is no
      immunity at all if “clearly established” law can simply be defined as the
      right to be free from unreasonable searches and seizures.

135 S. Ct. at 1775–76 (internal citations omitted). The Supreme Court repeated this

admonition to lower courts again in 2015. See Mullenix v. Luna, 136 S. Ct. 305, 308




      Case 2:24-cv-00416-PP      Filed 09/03/24    Page 9 of 23   Document 21
                                          9
(2015) (per curiam) (“We have repeatedly told courts . . . not to define clearly

established law at a high level of generality.”). As the Court framed the issue in

Mullenix:

      The dispositive question is whether the violative nature of particular
      conduct is clearly established. This inquiry must be undertaken in light
      of the specific context of the case, not as a broad general proposition.

136 S. Ct. at 308 (internal quotations and citations omitted) (emphasis in original).

      Even if the contours of the federal right in question are found to have been

clearly delineated at the relevant time, a public official may still enjoy qualified

immunity if it was objectively reasonable for the official to believe that his or her

actions did not violate a federal right. In fact, public officials are shielded from suit

even where officials “of reasonable competence could disagree” that such acts were

objectively reasonable. Malley v. Briggs, 475 U.S. 335, 341 (1986). In other words, “if

officers of reasonable competence could disagree . . . immunity should be recognized.”

Id.

      In determining whether the officers are entitled to qualified immunity, the

trial court conducts a two-step inquiry. First, this Court must determine whether the

disputed conduct violated a constitutional right. Borello, 446 F.3d at 746. Second, this

Court must determine whether the right was “clearly established” at the time of the

alleged conduct. Id. (quoting Saucier v. Katz, 533 U.S. 194, 201 (2001). Whether the

law was “clearly established” turns on the “objective legal reasonableness of the

action” given the contemporaneous legal rules. Wilson v. Layne, 526 U.S. 603, 614

(1999). Thus, a defendant government official is entitled to qualified immunity for




      Case 2:24-cv-00416-PP      Filed 09/03/24    Page 10 of 23    Document 21
                                          10
unconstitutional conduct so long as there could be a reasonable, albeit mistaken,

belief about the legality of his or her conduct. Saucier v. Katz, 533 U.S. 194, 205-06

(2001).

       Here, even if Plaintiff could establish (as alleged in the Complaint) that there

was some violation of his constitutional rights, these rights were not clearly

established at the time of the alleged conduct. “It is insufficient for a plaintiff simply

to point out a recognized constitutional right and claim that the right has been

violated.” Borello, 446 F.3d at 750 (citing Brosseu v. Haugen, 543 U.S. 194 (2004)).

The Supreme Court instructs that the “clearly established” inquiry “must be

undertaken in light of the specific context of the case, not as a broad general

proposition.” Harlow v. Fitzgerald, 457 U.S. 800, 815 (1982). The inquiry is narrow

and assesses whether the right was “sufficiently clear that a reasonable official would

understand that what he is doing violates the right.” Saucier, 533 U.S. at 201;

Colaizzi v. Walker, 812 F.2d 304, 308 (7th Cir. 1987) (“[T]he test for immunity [is]

whether the law was clear in relation to the specific facts confronting the public

official when he acted.”). Thus, the question of whether immunity attaches is a

question of law. Elder v. Holloway, 510 U.S. 510, 516 (1994). If qualified immunity

applies to an officer’s conduct, “the officer should not be subject to liability or, indeed,

even the burdens of litigation.” Brosseau v. Haugen, 543 U.S. 194, 198 (2004).

       The law in this instance was not clearly established at the time of the alleged

conduct. No case law has set a precedent or clarified the law concerning conduct

similar to the alleged actions of Deputy Do and Woida. Consequently, any reasonable




      Case 2:24-cv-00416-PP        Filed 09/03/24    Page 11 of 23     Document 21
                                            11
officer in a similar situation would not understand their actions as violating a clearly

established right.

      In at least one similar case, the Eighth Circuit held that a bailiff did not violate

Plaintiff’s constitutional rights by answering a question posed by jurors regarding a

potential deadlock. In Boykin v. Leapley, Plaintiff argued he was entitled to a new

trial because during jury deliberations there was allegedly a conversation between a

bailiff and one of the jurors when a juror asked the bailiff what would happen if the

jury became deadlocked. 28 F.3d 788, 790 (8th Cir. 1994). The bailiff in Boykin

testified she answered the jurors’ question by saying:

      Well, if you can't come back in with a decision, the Judge and the
      attorneys talk it over on how long you have been deliberating, then it's
      up to them whether to send you back into the jury room and say
      deliberate some more or they are going to take your answer as whatever
      you give for an answer… I don't know when you are going to come in
      with a decision. My guess is that if you're telling me that you're going to
      come in after lunch and say you can't make a decision, I think that the
      Judge would probably send you back into the jury room, you know, and
      try to talk some more and try to come to a decision.

      The court ultimately concluded that neither statement made by the bailiff was

prejudicial. The content of the improper communication and the context in which it

was given are relevant to a determination of whether the communication was

prejudicial. Boykin, 28 F.3d at 788 (citing) United States v. Rowley, 975 F.2d 1357

(8th Cir.1992) (juror who said he knew defendant and witnesses spoke with other

jurors about the case before the jury began to deliberate). The Court concluded by

reasoning, “we cannot say that a different result is required in this case because one




      Case 2:24-cv-00416-PP      Filed 09/03/24    Page 12 of 23     Document 21
                                          12
juror overheard the bailiff say to another juror that she thought the judge would give

such an instruction.” Id. Plaintiff’s claim for a new trial was denied.

      While Boykin’s case was premised on a petition for writ of habeas corpus (after

unsuccessfully appealing his conviction through the state courts), id. at 789, the facts

of Boykin are strikingly similar to the allegations in this case: both include bailiffs

who allegedly answered questions posed by a seemingly deadlocked jury which

resulted in conviction. As demonstrated by the Boykin court, the law surrounding

what bailiffs may or may not be able to communicate to jurors was not clearly

established, and Deputy Do and Woida are entitled to qualified immunity.

      c.     Plaintiff failed to comply with the notice requirements of Wis.
             Stat. § 893.80(1d).

      Alternatively, this Court must dismiss Plaintiff’s state law claims as Plaintiff

failed to comply with Wis. Stat. § 893.80(1d). A notice of claim statute, like a notice

of injury statute, “is not a statute of limitation but imposes a condition precedent to

the right to maintain an action.” Mannino v. Davenport, 99 Wis.2d 602, 614, 299

N.W.2d 823 (1981). It is the burden of the claimant to show compliance with the notice

requirements. See Weiss v. Milwaukee, 79 Wis. 2d 213, 255 N.W.2d 496 (1977).

      Under Wis. Stat. § 893.80(1d)(a), no action may be brought or maintained

against a governmental agency or official unless, “[w]ithin 120 days after the

happening of the event giving rise to the claim, written notice of the circumstances of

the claim signed by the party, agent, or attorney is served” on the governmental

agency or official. Wis. Stat. § 893.80(1d)(a). In addition to having to serve a written

notice of circumstances to the governmental agency, Wis. Stat. § 893.80(1d)(b) also




      Case 2:24-cv-00416-PP      Filed 09/03/24    Page 13 of 23    Document 21
                                          13
requires an individual to provide a written notice of claim to the governmental

agency, “containing the address of the claimant and an itemized statement of the

relief sought,” before the individual may bring a lawsuit against the governmental

agency or its officials, employees, or agents for acts done in their official capacity or

in the course of the agency or employment with the governmental agency. Wis. Stat.

§ 893.80(1d)(b).

      If a claimant fails to serve the requisite written notice of circumstances within

120 days of the happening of the event, the claimant may still be allowed to proceed

if he can prove that: (1) the governmental entity had “actual notice of the claim” prior

to filing suit; and (2) the governmental entity was not prejudiced by his failure to

give timely written notice. See Wis. Stat. § 893.80(1d)(a); Clark v. League of Wisconsin

Municipalities Mut. Ins. Co., 2021 WI App 21, ¶ 13-14, 397 Wis.2d 220, 959 N.W.2d

648. This actual notice must be “‘of the claim,’ rather than of the mere

‘circumstances’ that may later give rise to a claim.” Clark, 2021 WI App ¶ 14

(emphasis in original). And while this “actual notice” of the claim is not subject to the

120 day time limit applicable to formal written notice under § 893.80(1d)(a), it must

still be supplied or otherwise exist before the claimant may file suit. This is because

the statutory notice requirements are a “condition precedent” to filing suit. Rouse v.

Theda Clark Med. Ctr., Inc., 2007 WI 87, ¶ 19, 302 Wis. 2d 358, 735 N.W.2d 30.

      For purposes of § 893.80(1d), “‘actual notice’ . . . ‘is the equivalent of actual

knowledge.’” Markweise v. Peck Foods Corp., 205 Wis. 2d 208, 220 (Ct. App. 1996)

(internal citations omitted). Regarding the “actual notice” component of the exception




      Case 2:24-cv-00416-PP      Filed 09/03/24    Page 14 of 23    Document 21
                                          14
to § 893.80(1d)’s notice requirements, “the actual notice necessary to effectuate

substantial compliance [or lack thereof] is ‘of the claim[,]’” not merely notice of the

circumstances of the events giving rise to the claim. Id. at ¶ 20 (emphasis in original).

Under § 893.80(1d)(b), notice of the claim includes “an itemized statement of the relief

sought . . . .” Accordingly, for the exception to the statutory notice requirements based

on actual notice of claim to apply—in addition to establishing the absence of

prejudice—Plaintiff must show that the County “not only ha[d] knowledge about the

events for which it may be liable, but also the identity and type of damage alleged to

have been suffered by [him]” prior to the filing of this lawsuit. Markweise, 205 Wis.

2d at 220. Without the County’s actual notice of the claim and damages sought, “the

investigation and evaluation of envisioned by [§ 893.80(1d)] is impossible.” Id. at 221.

      Here, Plaintiff failed to serve the County with a written notice of the

circumstances of the claim within 120 days after the alleged events giving rise to the

claim. Even assuming the alleged events giving rise to any claim lasted through the

State’s dismissal of the underlying criminal matter, Plaintiff failed to send any notice

of claim to the County for over one year. (Compare Dkt. 1, ¶ 97 (“On October 24, 2022,

. . . the court dismissed all of the criminal charges against Mahajni with prejudice”)

and Dkt. 1-2 (letter dated December 5, 2023)). Thus, the only way Plaintiff can

proceed with claims against the County is if he can establish: (1) the County had

“actual notice of the claim” prior to filing suit; and (2) the County was not prejudiced

by Plaintiff’s failure to give timely written notice. See Wis. Stat. § 893.80(1d)(a);

Clark, 2021 WI App 21 at ¶ 13-14.




      Case 2:24-cv-00416-PP      Filed 09/03/24    Page 15 of 23    Document 21
                                          15
        Beyond a cover letter stating that Plaintiff is “providing notice of state law

claims . . .,” (Dkt. 1-2, p. 1), the only mention of any claim in Plaintiff’s “Notice of

Claim” is as follows:

        Upon information and believe, Deputy Vu in violation of the Sixth and
        Fourteenth Amendments of the Constitution [sic].

(Id. at p. 3). There is no mention whatsoever of a potential claim for failure to

intervene, for negligent infliction of emotional distress, for intentional infliction of

emotional distress, or for negligent hiring, training, and supervision. (See generally,

id.).

        Put simply, Plaintiff failed to provide the County with adequate notice of any

actual state claim for which he now seeks relief. Although the “Notice of Claim”

arguably included notice of the circumstances of the events giving rise to the newly

identified claims, the claims themselves were never noticed, in violation of Wis. Stat.

§ 893.80(1d). Thus, this Court should grant judgment on the pleadings in Defendants’

favor for each of Plaintiff’s state claims.

        d.    Plaintiff’s Monell claim fails on its face.

        A complaint must contain allegations that “state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955 (2007)). “In

reviewing the sufficiency of a complaint under the plausibility standard announced

in Twombly and Iqbal, [the court should] accept the well-pleaded facts in the

complaint as true, but legal conclusions and conclusory allegations merely reciting

the elements of the claim are not entitled to this presumption of truth.” McCauley v.




        Case 2:24-cv-00416-PP     Filed 09/03/24   Page 16 of 23    Document 21
                                           16
City of Chicago, 671 F.3d 611, 616 (7th Cir. 2011) (quoting Iqbal, 129 S.Ct. at 1951).

In other words, the Supreme Court explained that any legal conclusions must be

supported by factual allegations in the complaint.

       Therefore, to survive a motion to dismiss, a plaintiff must plead in the

complaint “factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Iqbal, 129 S.Ct. at 1951 (citing

Twombly, 550 U.S. at 556).         “The degree of specificity required [of the factual

allegations] is not easily quantified, but ‘the plaintiff must give enough details about

the subject-matter of the case to present a story that holds together.’” Id. (quoting

Swanson v. Citibank, N.A., 614 F.3d 400, 404 (7th Cir. 2010)).

       Put simply, Plaintiff fails to satisfy the Twombly-Iqbal standard applicable to

Monell claims. Although the Supreme Court has held that municipalities are

susceptible to liability under § 1983, Monell v. Dep't of Soc. Servs. of City of New York,

436 U.S. 658, 690, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978), strict constraints limit the

liability of the County of Lafayette for the unconstitutional acts of its employees or

others under § 1983. “[A] municipality cannot be held liable under § 1983 on a

respondeat superior theory.” Monell, 436 U.S. at 691. Under Monell, municipal

liability exists only “when execution of a government’s policy or custom, whether

made by its law-makers or by those whose edicts or acts may fairly be said to

represent official policy, inflicts the injury.” Id. at 694.

       A municipality can violate § 1983 (1) through an express policy, statement,

ordinance, or regulation that, when enforced, causes a constitutional deprivation; (2)




      Case 2:24-cv-00416-PP        Filed 09/03/24     Page 17 of 23   Document 21
                                            17
through a “wide-spread practice” that although not authorized by written law and

express policy, is so permanent and well-settled as to constitute a “custom or usage”

with the force of law; or (3) through an allegation that the constitutional injury was

caused by a person with “final decision policymaking authority.” McTigue v. City of

Chicago, 60 F.3d 381, 382 (7th Cir. 1995).

      As the Supreme Court has explained: “considerably more proof than the single

incident will be necessary in every case to establish both the requisite fault on the

part of the municipality and the causal connection between the [omission in the

policy] and the [federal rights] deprivation.” City of Oklahoma City v. Tuttle, 471 U.S.

808, 824 (1985); see also Calhoun v. Ramsey, 408 F.3d 375, 380 (7th Cir. 2005) (“the

claim requires more evidence than a single incident to establish liability”) (citing

Tuttle, 471 U.S. at 822-23); Bd. of the County Comm'rs of Bryan County v. Brown, 520

U.S. 397, 409 (1997) (rejecting Monell claim based on absence of more thorough

screening of candidates for sheriff's deputy).

      Here, contrary to Twombly-Iqbal, the allegations in Plaintiff’s Monell claim are

vague, general, non-specific and threadbare conclusory allegations the factual

allegations against Deputy Do and Deputy Woida are that (1) they were sworn bailiffs

during Plaintiff’s underlying criminal trial; (2) a juror asked Deputy Do “whether or

not the jurors could be or deadlocked on any of the counts”; (3) Deputy Do “told the

jurors that they all had to agree on guilty or not guilty and that they were not allowed

to be hung or deadlocked”; and (4) Deputy Woida knew what Deputy Do said and did

not interfere. (Dkt. 1 at ¶¶ 25, 31, 34, 36). Plaintiff’s municipal liability claim is




      Case 2:24-cv-00416-PP      Filed 09/03/24    Page 18 of 23    Document 21
                                          18
wholly deficient. Although Plaintiff’s claim states the bare-boned standard of Monell,

the complaint references no “express policy” under the first type of Monell liability.

Nor does Plaintiff allege a person with “final decision policymaking authority” caused

injury. Nor does Plaintiff allege any “custom and policy” violated federal rights. (See

generally Dkt. 1).

         Moreover, the incident alleged is the sort of “single incident” the Supreme

Court and Seventh Circuit have held are insufficient for purposes of maintaining a

Monell claim. The allegations involving Plaintiff are, on the face of the Complaint,

entirely isolated. Because Plaintiff’s Monell claim is entirely lacking the necessary

factual matter to state a claim for municipal liability, this Court should dismiss the

claim.

         Furthermore, there is no plausible allegation that the alleged constitutional

violation was caused by an unconstitutional custom, policy or practice. Plaintiff has

failed to allege that any County employee previously acted in any manner even

remotely similar to the allegations made in this case. (See generally, Dkt. 1). The

alleged failure to investigate the complained-of conduct after the fact means nothing

in terms of Monell; rather, a Monell claim must be based on prior incidents where

no action was taken, and that lack of action caused the instant conduct to occur.

Sornberger v. City of Knoxville, Ill. 434 F.3d 1006, 1029-1030 (in order to show Monell

liability based on alleged deliberate indifference, the Plaintiff must allege “either (1)

failure to provide adequate training in light of foreseeable consequences; or (2) failure




         Case 2:24-cv-00416-PP    Filed 09/03/24   Page 19 of 23    Document 21
                                           19
to act in response to repeated complaints of constitutional violations by its officers.”).

Plaintiff has made no such allegation and has not sufficiently stated a claim.

      Plaintiff has patently failed to state claim under Monell as there is no plausible

allegation of (1) an express policy, statement, ordinance, or regulation that, when

enforced, causes a constitutional deprivation; (2) a “wide-spread practice” that

although not authorized by written law and express policy, is so permanent and well-

settled as to constitute a “custom or usage” with the force of law; or (3) a constitutional

injury caused by a person with “final decision policymaking authority.” See McTigue,

60 F.3d at 382 (7th Cir. 1995). This Court must dismiss Plaintiff’s Monell claim.

      e.     David Clarke is not a proper party.

      At the very least, this Court must dismiss each claim against former Sheriff

Clarke as he is not a proper party. Plaintiff’s claims against former Sheriff Clarke are

limited to: Count 1 – denial of right to a fair trial in violation of the Sixth and

Fourteenth Amendments; Count 2 – denial of due process in violation of the

Fourteenth Amendment; and Count 4 – Monell liability. (Dkt. 1). As to Counts 1 and

2, former Sheriff Clarke has no personal involvement in the alleged conduct and

therefore cannot be held liable for same; as to Count 4, former Sheriff Clarke is not

the current policymaker of the Milwaukee County Sheriff’s Department thus is

improperly named as a defendant.

             i.     Plaintiff has not alleged any personal involvement on
                    behalf of former Sheriff Clarke relating to Counts 1 or 2.

      The Seventh Circuit has “long held that liability under § 1983 must be

predicated upon personal responsibility.” Brownlow v. Van Natta, 2 F. App’x 516,



      Case 2:24-cv-00416-PP       Filed 09/03/24    Page 20 of 23     Document 21
                                           20
518–19 (7th Cir. 2001) (citing Starzenski v. City of Elkhart, 87 F.3d 872, 880 (7th Cir.

1996)); see also Iqbal, 556 U.S. at 676; Twombly, 550 U.S. at 555.. To that end, “the

Seventh Circuit established in Adams v. Pate, 445 F.2d 105 (7th Cir. 1971) that before

liability will attach under § 1983, a plaintiff must demonstrate the defendant’s direct

personal involvement in the claimed deprivation of constitutional rights.” Franklin v.

Israel, 558 F. Supp. 712, 715 (W.D. Wis. 1983) (emphasis added) (citing as see also

Stringer v. Rowe, 616 F.2d 993, 1000–01 (7th Cir. 1980)).

      But even when examined in the light most favorable to Plaintiff, he has not

alleged any facts that, if taken as true, could show that former Sheriff Clarke

personally participated in allegedly prohibiting Plaintiff from a fair trial, from due

process, or otherwise personally took action to frustrate Plaintiff’s constitutional

rights. Therefore, dismissal of Counts 1 and 2 against former Sheriff Clarke is

appropriate.

               ii.   Plaintiff improperly named former Sheriff Clarke
                     relating to Count 4.

      If this Court believes Plaintiff properly stated a Monell claim for relief, former

Sheriff Clarke is not the proper party and this Court should dismiss the claim against

Clarke. Pursuant to Federal Rule of Civil Procedure 25(d),

      An action does not abate when a public officer who is a party in an
      official capacity dies, resigns, or otherwise ceases to hold office while the
      action is pending. The officer's successor is automatically substituted as
      a party. Later proceedings should be in the substituted party's name,
      but any misnomer not affecting the parties’ substantial rights must be
      disregarded. The court may order substitution at any time, but the
      absence of such an order does not affect the substitution.




      Case 2:24-cv-00416-PP      Filed 09/03/24    Page 21 of 23     Document 21
                                          21
      Plaintiff’s Monell claim appears to be a combination of three potential avenues

for relief: (1) that former Sheriff Clarke and Milwaukee County failed to investigate

Plaintiff’s complaint or discipline the Deputy Defendants for the complaint; (2) that

former Sheriff Clarke and Milwaukee County failed to “adequately train and

supervise its sheriff’s deputies working as circuit court bailiffs”; and (3) that Clarke

and Milwaukee County had unconstitutional policies, practices and/or customs. (Dkt.

1, ¶¶ 129-135). Apart from the inadequacy of the pleadings, Plaintiff’s claim is

directed toward former Sheriff Clarke in his former official capacity, which is wholly

inappropriate under Federal Rule of Civil Procedure 25(d); it should be the current

Sheriff named as a defendant instead.

      For these reasons, former Sheriff Clarke is not a proper party, and this Court

should dismiss all claims against him.

                                   CONCLUSION

      For the above stated reasons, this Court should grant Defendants’ motion for

judgment and dismiss each of Plaintiff’s claims, in their entirety, with prejudice.




      Case 2:24-cv-00416-PP      Filed 09/03/24    Page 22 of 23    Document 21
                                          22
Dated this 3rd day of September, 2024.


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      Case 2:24-cv-00416-PP    Filed 09/03/24    Page 23 of 23   Document 21
                                        23
